        Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 1 of 8




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                              )
COMMON CAUSE GEORGIA, as an                   )
organization,                                 )
                                              )
                                   Plaintiff, )
                                              )
                                              )
                                              )
                                              )
                                              )
v.                                            )   Case No. 18-cv-05102-AT
                                              )
BRAD RAFFENSPERGER, in his                    )
official capacity as Secretary of State of    )
Georgia                                       )
                                              )
                                              )
                                 Defendant. )


                    JOINT STIPULATION OF DISMISSAL

      COME NOW Plaintiff Common Cause Georgia and Defendant Brad

Raffensperger (the “Parties) and hereby jointly stipulate that the above-captioned

action be dismissed with prejudice, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A).

      Plaintiff filed the instant lawsuit on November 5, 2018, alleging that security

issues with the state’s voter registration system, combined with certain statements


                                        -1-
        Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 2 of 8




made by then-Secretary of State Brian Kemp and the state’s provisional ballot-

counting procedures, caused Plaintiff constitutional and statutory injury. Defendant

maintained that Plaintiff was entitled to no relief and that there was no evidence of

any security issues with the state’s election systems. On November 12, 2018, this

Court entered a Temporary Restraining Order and ordered expedited discovery of

certain information related to provisional ballots.

      On April 2, 2019, HB 316 (Act 24) was signed into law. This bill amends

the state’s provisional ballot counting laws in ways that are relevant to this case.

Specifically, Section 37 of HB 316, provides: “At the earliest time possible after

the casting of a provisional ballot, the election superintendent shall notify the

Secretary of State that an elector cast a provisional ballot, whether such ballot was

counted, and, if such ballot was not counted, the reason why such ballot was not

counted.”

      Section 38 of HB 316 requires that county officials’ determination as to

whether a person casting a provisional ballot was eligible to vote

      include a review of all available voter registration documentation,
      including registration information made available by the electors
      themselves and documentation of modifications or alterations of
      registration data showing changes to an elector’s registration status.
      Additional sources of information may include, but are not limited to,
      information from the Department of Driver Services, Department of
      Family and Children Services, Department of Natural Resources,


                                          -2-
         Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 3 of 8




      public libraries, or any other agency of government including, but not
      limited to, other county election and registration offices.

This section also adds a requirement that county elections officials notify certain

provisional voters whose ballots were not counted “[a]t the earliest time possible

after a determination is made regarding a provisional ballot”.

      Section 40 of HB 316 extends the counties’ election certification deadline

and gives Defendant authority to further extend the deadline to complete a pre-

certification audit of the election.

      On May 2, 2019, HB 392 (Act 75) was signed into law. This bill provides

additional protections for the security of the state’s voter registration system.

Specifically, this bill directs Defendant

      [t]o promulgate a regulation that establishes security protocols for
      voter registration information maintained and developed by the
      Secretary of State pursuant to Code Section 21-2-211 and 52 U.S.C.
      Section 21083. The regulation shall be generally
      consistent with current industry security standards, and in
      promulgating the regulation, the Secretary of State shall consider
      those security standards issued by the National Institute of Standards
      and Technology, the Center for Internet Security, and the federal
      Election Assistance Commission. The Secretary of State shall, at least
      annually, certify that the State of Georgia has substantially complied
      with the requirements of the regulation promulgated pursuant to this
      Code section[.]”

      The Parties agree that the above-cited provisions make further litigation of

this matter unnecessary.


                                            -3-
         Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 4 of 8




      Upon entry of the Court order dismissing this case, Plaintiff intends to file a

motion for reasonable attorneys’ fees and costs pursuant to Northern District of

Georgia Civil Local Rule 54 and other applicable legal authorities. Defendants do

not concede that Plaintiffs are entitled to fees in this action.

      The parties respectfully request that the Court set the briefing schedule on

the fees motion as follows:



Plaintiff’s Special Motion, Opening Brief, and Itemization: July 15, 2019

Defendant’s Opposition: August 5, 2019

Plaintiff’s Reply: August 19, 2019



      WHEREFORE, the Parties respectfully request the Court dismiss the instant

action and set the above schedule for briefing the issues of attorney’s fees as

sought by Plaintiff.




                                           -4-
  Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 5 of 8




This 14th day of June, 2019.



            SUGARMAN LAW LLP
            By: /s/ F. Skip Sugarman
                F. Skip Sugarman
                        GA Bar No. 690773
                154 Krog St., Suite 190
                Atlanta, GA 30307
                (404) 495-4811
                skip@sugarman-law.com

            PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                Robert A. Atkins
                       (pro hac vice)
                       NY Bar No. 2210771
                Farrah R. Berse
                       (pro hac vice)
                       NY Bar No. 4129706
                Makiko Hiromi
                       (pro hac vice)
                       NY Bar No. 5376165
                William E. Freeland
                       (pro hac vice)
                       NY Bar No. 5450648
                Melina M. Meneguin Layerenza
                       (pro hac vice)
                       NY Bar No. 5559240
                1285 Avenue of the Americas
                New York, NY 10019-6064
                (212) 373-3000
                ratkins@paulweiss.com
                fberse@paulweiss.com
                mhiromi@paulweiss.com
                wfreeland@paulweiss.com
                mmeneguin@paulweiss.com


                               -5-
Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 6 of 8




         BRENNAN CENTER FOR JUSTICE
         AT NEW YORK UNIVERSITY SCHOOL OF LAW
             Myrna Pérez
                   (pro hac vice)
                   NY Bar No. 4874095
             Lawrence D. Norden
                   (pro hac vice application pending)
                   NY Bar No. 2881464
             Wendy R. Weiser
                   (pro hac vice)
                   NY Bar No. 2919595
             Maximillian Feldman
                   (pro hac vice)
                   NY Bar No. 5237276
             120 Broadway, Suite 1750
             New York, NY 10271
             (646) 292-8310
             perezm@brennan.law.nyu.edu
             nordenl@brennan.law.nyu.edu
             weiserw@brennan.law.nyu.edu
             feldmanm@brennan.law.nyu.edu

               Attorneys for Plaintiff


         STATE LAW DEPARTMENT
             Christopher M. Carr
                   Attorney General
                   GA Bar No. 112505
             Dennis R. Dunn
                   Deputy Attorney General
                   GA Bar No. 234098
             Russell D. Willard
                   Senior Assistant Attorney General
                   GA Bar No. 760280
             40 Capitol Square, S.W.
             Atlanta, Georgia 30334
             (404) 656-3357

                              -6-
Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 7 of 8




         ROBBINS ROSS ALLOY BELINFANTE
         LITTLEFIELD LLC
              Josh Belinfante
                     GA Bar No. 047399
              Ryan Teague
                     GA Bar No. 701321
              Kimberly Anderson
                     GA Bar No. 602807
              999 Peachtree Street, N.E., Suite 1120
              Atlanta, GA 30309
              (678) 701-9381
              jbelinfante@robbinsfirm.com
              rteague@robbinsfirm.com
              kanderson@robbinsfirm.com

         TAYLOR ENGLISH DUMA LLP
             Bryan P. Tyson
                   Special Assistant Attorney General
                   GA Bar No. 515411
             1600 Parkwood Circle, Suite 200
             Atlanta, GA 30339
             (678) 336-7249
             bytson@taylorenglish.com

               Attorneys for Defendant




                             -7-
          Case 1:18-cv-05102-AT Document 116 Filed 06/14/19 Page 8 of 8




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing JOINT STIPULATION OF DISMISSAL

was prepared double-spaced in 14-point Times New Roman pursuant to Local Rule

5.1(C).



                                 /s/ F. Skip Sugarman
                                 F. Skip Sugarman
                                 Sugarman Law LLP




                          CERTIFICATE OF SERVICE

      I hereby certify that on June 14, 2019, I served the within and foregoing

JOINT STIPULATION OF DISMISSAL with the Clerk of Court using the

CM/ECF system, which will send notification of such filing to all parties to this

matter via electronic notification or otherwise.

      This 14th day of June, 2019.


                                 /s/ F. Skip Sugarman
                                 F. Skip Sugarman
                                 Sugarman Law LLP




                                         -8-
